 

Case 1:19-cr-00084-DLH Document 12 Filed 07/16/19 Page 1 of 1
fs
oS
Case 1:19-cr-00084-DLH *SEALED* Document 4 Filed 06/05/19 Page 1 of 2

Local AO 442 (Rev. 10/11) Arrest Warrant RECEIVED

UNITED STATES MARSHA
UNITED STATES DISTRICT COURT s

DISTRICT OF NORTH DAKOTA JUN 05 2019

DISTRICT OF NORTH DAKOTA

United States of America

 

v. )
April Lynn Gearhart, Case No, 1:19-cr-084
a/k/a Reno )
a bee )
Defendant
ARREST WARRANT
To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay

(name of person to be arrested) April Ly nn Gearhart, ,

who is accused of an offense or violation based on the following document filed with the court:

W Indictment O Superseding Indictment Information O Superseding Information © Complaint
O Probation Violation Petition (1 Supervised Release Violation Petition {Violation Notice Order of the Court

This offense is briefly described as follows:

Conspiracy to Distribute and Possess with intent to Distribute a Controlled Substance (500
grams or more - mixture)

Forfeiture Allegation

Engaging in a Monetary Transaction in Property Derived from Specified Unlawful Activity
(Money Laundering)

Aiding and Abetting

 

Date: 06/05/2019 /s/ Anja Miller

 

lssuing officer's signature

City and state: Bismarck, ND Anja Miller, Deputy Clerk

Printed name and title

 

Return

This warrant was received on (date) Z/ l Sf2AA, , and the person was arrested on (date) Te 1S - QE (QA __
at (city and state) \pJ r\l ston . Vd .

Date: Zhis/ POA. —.f /
c* Arresting officer's signature

Randy Latlain , Fer, Srecet| eet

Printed fame and title

 

 

 

 
